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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                 Case No: 11-CR-20129-27-DT
       v.

CHRISTOPHER COOK,

                Defendant.
___________________________/

                                   ORDER REINSTATING BOND

        The matter is before the court on Defendant’s Motion to Reinstate Bond filed on

April 19, 2013. A hearing was held on August 20, 2013, and for the reasons stated on the

record, the defendant’s bond will be reinstated. Therefore,

       IT IS ORDERED that the defendant’s bond, with all standard conditions and all

special conditions previously set [Dkt. #323] is REINSTATED, with the addition of condition

q, which was originally omitted: that the defendant shall refrain from possessing or using

illegal controlled substances. Such condition is not obviated or made ineffective in any way

by any state law “medical marijuana” prescription or permission scheme in the absence of

a specific order of this court.

       The U.S. Marshal is directed to release the defendant from custody forthwith.


                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


Dated: August 20, 2013
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, August 20, 2013, by electronic and/or ordinary mail.


                                         S/Holly Monda for Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
